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              IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MARYLAND
                             (Northern Division)

JEFFREY DOYLE                       *
                                    *
 Plaintiff                          *
                                    *
v.                                  *   Case No. 1:16-cv-03501-RDB
                                    *
FRONTLINE ASSET                     *
 STRATEGIES, LLC, et al.            *
                                    *
 Defendants.                        *
____________________________________*
MARIO DAZZA                         *
                                    *
 Plaintiff                          *
                                    *
v.                                  *   Case No. 1:16-cv-03954-RDB
                                    *
KIRSCHENBAUM, PHILLIPS &            *
 LEVY, P.C., et al.                 *
                                    *
 Defendants.                        *
____________________________________*

ROBERTO ARACENA                     *
                                    *
      Plaintiff                     *
                                    *
v.                                  * Case No. 1:16-cv-03851-CCB
                                    *
ELTMAN LAW, P.C. D/B/A              *
   ELTMAN, ELTMAN &                 *
   COOPER, P.C.                     *
                                    *
 Defendant.                         *
____________________________________*
                PLAINTIFFS’ MOTION TO CONSOLIDATE CASES
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          Plaintiffs Jeffrey Doyle, Mario Dazza, and Roberto Aracena in the above captioned actions,

by and through the undersigned counsel, on their behalf and on behalf of the putative class

members, request the consolidation of the pending matters of Doyle v. Frontline Asset Strategies,

LLC, et al., Case No. 1:16-cv-03501-RDB (“Doyle”), Dazza v. Kirschenbaum, Phillips & Levy,

P.C., et al., Case No. 1:16-cv-03954-RDB (“Dazza”) and Aracena v. Eltman Law, P.C., Case No.

1:16-cv-03851-CCB (“Aracena”)1 (collectively “Cases”) and state:

          1.       Fed. R. Civ. P. 42(a) provides: “[i]f actions before the court involve a common

question of law or fact, the court may: (1) join for hearing or trial any or all matters at issue in the

actions; (2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or

delay.”

          2.       When there is substantial overlap between two cases, it is in the interest of judicial

economy to consolidate the cases. Coyne & Delaney Co. v. Selman, 98 F.3d 1457, 1473 (4th Cir.

1996).

          3.       These Cases should be consolidated since: (i) all of the Cases are pending in this

Court; (ii) all of the plaintiffs in the Cases are represented by the same legal counsel and all of the

defendants in the Cases are represented by the same legal counsel; (iii) all of the Cases involve

common issues of law as they essentially allege similar violations of the Fair Debt Collection

Practices Act (“FDCPA”) and the Maryland Consumer Debt Collection Act (“MCDCA”) against

the defendants; and (iv) all of the Cases involve common issues of fact in that they arise out of

defendants’ attempts to collect on void judgments in Maryland state courts entered in favor of

unlicensed collection agencies.


1
 An identical version of this motion is being filed concurrently in all cases identified on the
caption.
                                                     2
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       4.       Plaintiffs’ counsel contacted defendants’ counsel in each and defendants’ counsel

conveyed to plaintiffs’ counsel that he was unable to obtain authority from any of the defendants

to consent to this Motion to Consolidate.

       5.       Plaintiffs request that the Cases be consolidated for all purposes under 1:16-cv-

03501-RDB, with Jeffrey Doyle as the lead plaintiff, individually and on behalf of all others

similarly situated.

       WHEREFORE, Plaintiffs Jeffrey Doyle, Mario Dazza, and Roberto Aracena request the

Court consolidate the pending matters of Doyle v. Frontline Asset Strategies, LLC, et al., Case No.

1:16-cv-03501-RDB, Dazza v. Kirschenbaum, Phillips & Levy, P.C., et al., Case No. 1:16-cv-

03954-RDB, and Aracena v. Eltman Law, P.C., Case No. 1:16-cv-03851-CCB.



                                             Respectfully submitted,

                                             //s// Matthew Thomas Vocci
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                                             //s//Phillip R. Robinson
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                                             //s// Scott C. Borison
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                                             Attorneys for Named Plaintiff
                                             & Putative Class Members




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of this document was served by the Court’s
ECF system when filed with the Court on this 20th day of April, 2017 to all counsel and parties of
record in this matter.


                                                  //s//
                                             Matthew Thomas Vocci




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